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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

IN RE:                                                                 Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC,1                                           Case No. 6:24-bk-02486-GER
RED LOBSTER RESTAURANTS LLC,                                           Case No. 6:24-bk-02487-GER
RLSV, INC.,                                                            Case No. 6:24-bk-02488-GER
RED LOBSTER CANADA, INC.,                                              Case No. 6:24-bk-02489-GER
RED LOBSTER HOSPITALITY LLC,                                           Case No. 6:24-bk-02490-GER
RL KANSAS LLC,                                                         Case No. 6:24-bk-02491-GER
RED LOBSTER SOURCING LLC,                                              Case No. 6:24-bk-02492-GER
RED LOBSTER SUPPLY LLC,                                                Case No. 6:24-bk-02493-GER
RL COLUMBIA LLC,                                                       Case No. 6:24-bk-02494-GER
RL OF FREDERICK, INC.,                                                 Case No. 6:24-bk-02495-GER
RED LOBSTER OF TEXAS, INC.,                                            Case No. 6:24-bk-02496-GER
RL MARYLAND, INC.,                                                     Case No. 6:24-bk-02497-GER
RED LOBSTER OF BEL AIR, INC.,                                          Case No. 6:24-bk-02498-GER
RL SALISBURY, LLC,                                                     Case No. 6:24-bk-02499-GER
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                                Case No. 6:24-bk-02500-GER

      Debtors.                                                         (Joint Administration Pending)
__________________________________________/

              DEBTORS’ EX PARTE MOTION FOR JOINT ADMINISTRATION

         The above-captioned debtors and debtors in possession (each a “Debtor” and,

collectively, the “Debtors”), by and through their proposed undersigned counsel, pursuant to

sections 101(2), 105(a), 363(b), 541, 1107(a) and 1108 of chapter 11 of title 11 of the United

States Code (the “Bankruptcy Code”), Rules 1015(b) and 6003 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rule 1015-1, file this motion (the

“Motion”) seeking entry of an order substantially in the form attached hereto as Exhibit A


1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply
LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants LLC (4308);
RL Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland, Inc. (7185); Red
Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster Canada,
Inc. (4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located at 450
S. Orange Avenue, Suite 800, Orlando, FL 32801.
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authorizing the joint administration of their chapter 11 cases. In support of this Motion, the

Debtors rely upon the Declaration of Jonathan Tibus in Support of Debtors’ Chapter 11

Petitions and First Day Relief (the “First Day Declaration”) which has been filed with the Court

on or about the date hereof and incorporated herein by reference, and respectfully represent as

follows:

                                      Preliminary Statement

         1.     The Debtors estimate that, among the fifteen (15) debtor entities, that there exist

in excess of 100,000 creditors and parties-in-interest in these chapter 11 bankruptcy cases. Joint

administration will allow for the efficient and convenient administration of these chapter 11

cases, will yield significant cost savings that will inure to the benefit of all interested parties, and

will not harm the substantive right of any party in interest. In particular, joint administration will

obviate the need for duplicative notices, motions, applications, hearings, and orders, saving

considerable time and expense for the Debtors and their estates, and will lessen the

administrative burden on this Court. The Debtors believe that the relief requested in this Motion

is needed immediately to avoid the substantial costs of duplicative mailing expenses that debtors

traditionally incur after the Petition Date (as defined herein). The Court is authorized to grant the

relief requested herein without notice and a hearing at its discretion. The Debtors anticipate that

their creditors would not oppose the relief requested herein, which seeks procedural relief only.

                                      Jurisdiction and Venue

         2.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

         3.     Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The

statutory predicates for the relief sought herein are sections 101(2), 105(a), 363(b), 541, 1107(a)

and 1108 of the Bankruptcy Code, Bankruptcy Rules 1015(b) and 6003 of the Bankruptcy Rules
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and rule 1015-1 of the Local Rules of the United States Bankruptcy Court for the Middle District

of Florida.

                                             Background

         4.      On May 19, 2024 (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the Bankruptcy Code.

         5.      The Debtors are operating their businesses and managing their affairs as debtors-

in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         6.      For a detailed description of the Debtors and their operations, the Debtors

respectfully refer the Court and parties in interest to the First Day Declaration.

                                          Relief Requested

         7.      The Debtors seek entry of an order directing the joint administration of the

Debtors’ chapter 11 cases for procedural purposes only pursuant to sections 105(a), 363(b), 541,

1107(a) and 1108 of the Bankruptcy Code, Bankruptcy Rules 1015(b) and 6003 and Local Rule

1015-1.

         8.      The Debtors specifically request that their chapter 11 cases be jointly

administered under the case of Red Lobster Management LLC.

         9.      The Debtors also request that if the cases are initially assigned to different judges,

that the cases are transferred to the judge to whom the lowest numbered case was assigned.

                                           Basis for Relief

         10.     Bankruptcy Rule 1015(b) provides, in relevant part, as follows: “If a joint petition

or two or more petitions are pending in the same court by or against . . . a debtor and an affiliate,

the court may order a joint administration of the estates.” Bankruptcy Rule 1015(b). In addition,

section 105 of the Bankruptcy Code provides that the Court may “issue any order, process, or


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judgment that is necessary or appropriate to carry out the provisions” of chapter 11. 11 U.S.C.

§105.

          11.     The Debtors are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. The Debtors operate as an integrated business with common ownership and

control. The Debtors also share a number of financial and operational systems. As a result, many

of the motions, hearings and orders that will arise in these cases will affect all of the Debtors.

          12.     Bankruptcy Rule 1015 promulgates the fair and efficient administration of

multiple cases of affiliated debtors, like here, while protecting the rights of individual creditors.

See In re PL Liquidation Corp., 305 B.R. 629, 633 (Bankr. D. Del. 2004); In re N.S. Garrott &

Sons, 63 B.R. 189, 191 (Bankr. E.D. Ark. 1986); In re H&S Trans. Co., 55 B.R. 786, 791

(Bankr. M.D. Tenn. 1982). While the Debtors constitute separate and distinct entities, the issues

that will be addressed in these bankruptcy cases will be related and overlapping. Accordingly,

the Bankruptcy Code and the Bankruptcy Rules authorize the Court to grant the relief requested

herein.

          13.     The Debtors submit that joint administration of their chapter 11 cases will obviate

the need for duplicative notices, motions, applications, hearings and orders, and will therefore

save considerable time and expense for the Debtors and their estates.

          14.     The rights of the respective creditors of the Debtors will not be adversely affected

by the proposed joint administration because this Motion requests only administrative, not

substantive consolidation of the Debtors’ estates. As such, the Debtors will continue as separate

and distinct legal entities and will continue to maintain their books and records in the ordinary

course. Moreover, each creditor may still file its proof of claim against a particular estate. In

fact, the rights of all creditors will be enhanced by the reduction in costs resulting from joint


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administration. The Court also will be relieved of the burden of scheduling duplicative hearings,

entering duplicative orders, and maintaining redundant files. Finally, supervision of the

administrative aspects of these chapter 11 cases by the Office of the United States Trustee will be

simplified. Given the foregoing, joint administration of these chapter 11 cases will not give rise

to any conflict of interest among the estates in these cases and will allow for a more cost efficient

and streamlined process.

         15.       The Debtors also seek the Court’s direction that a notation substantially similar to

the following notation be entered in the docket of each of the Debtors’ cases to reflect the joint

administration of the cases:

             An order has been entered in this case directing joint administration of the
             following entities for procedural purposes only: (i) Red Lobster Management
             LLC; (ii) Red Lobster Restaurants LLC; (iii) RLSV, Inc.; (iv) Red Lobster
             Canada, Inc; (v) Red Lobster Hospitality LLC; (vi) RL Kansas LLC; (vii) Red
             Lobster Sourcing LLC; (viii) Red Lobster Supply LLC; (vix) RL Columbia LLC;
             (x) RL of Frederick, Inc.; (xi) Red Lobster of Texas, Inc.; (xii) RL Maryland,
             Inc.; (xiii) Red Lobster of Bel Air, Inc.; (xiv) RL Salisbury, LLC; and (xv) Red
             Lobster International Holdings LLC. The docket of Red Lobster Management
             LLC (Case No. 6:24-bk-02486-GER) should be consulted for all matters
             affecting this case.

         16.       Therefore, a single docket shall be maintained by the Clerk of the Court under the

case number of the case designated herein as the “lead case.”

         17.       Accordingly, the Debtors submit that the joint administration of these chapter 11

cases is in the best interests of the Debtors, their estates, and other parties-in-interest.

         WHEREFORE, the Debtors respectfully request entry of an order, in the form annexed

hereto as Exhibit A, which contains the applicable requirements of Local Rule 1015-1, (i)

granting this Motion; (ii) authorizing the joint administration of these chapter 11 cases for

procedural purposes only; and (iii) granting such other and further relief as is just and equitable.



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Dated:       May 19, 2024                          Respectfully submitted,

                                              /s/ Paul Steven Singerman
W. Austin Jowers (pro hac vice pending)       Paul Steven Singerman
Jeffrey R. Dutson (pro hac vice pending)      Florida Bar No. 378860
Sarah L. Primrose (FL Bar No. 98742)          BERGER SINGERMAN LLP
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Atlanta, GA 30309                             - and –
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        christopher.coleman@kslaw.com         300 S. Orange Avenue, Suite 1000
        bbean@kslaw.com                       Orlando, FL 32801
        tkim@kslaw.com                        Telephone: (407) 749-7900
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Michael Fishel (pro hac vice pending)
KING & SPALDING LLP                                Filer’s Attestation: Pursuant to Local Rule
1100 Louisiana, Suite 4100                         1001-2(g)(3) regarding signatures, Paul
Houston, TX 77002                                  Steven Singerman attests that concurrence in
Telephone: (713) 751-3200                          the filing of this paper has been obtained.
Email: mfishel@kslaw.com

                     Proposed Counsel for Debtors and Debtors-in-Possession




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                                      EXHIBIT A

                                 (Proposed Order)




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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

IN RE:                                                                 Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC,1                                           Case No. 6:24-bk-02486-GER
RED LOBSTER RESTAURANTS LLC,                                           Case No. 6:24-bk-02487-GER
RLSV, INC.,                                                            Case No. 6:24-bk-02488-GER
RED LOBSTER CANADA, INC.,                                              Case No. 6:24-bk-02489-GER
RED LOBSTER HOSPITALITY LLC,                                           Case No. 6:24-bk-02490-GER
RL KANSAS LLC,                                                         Case No. 6:24-bk-02491-GER
RED LOBSTER SOURCING LLC,                                              Case No. 6:24-bk-02492-GER
RED LOBSTER SUPPLY LLC,                                                Case No. 6:24-bk-02493-GER
RL COLUMBIA LLC,                                                       Case No. 6:24-bk-02494-GER
RL OF FREDERICK, INC.,                                                 Case No. 6:24-bk-02495-GER
RED LOBSTER OF TEXAS, INC.,                                            Case No. 6:24-bk-02496-GER
RL MARYLAND, INC.,                                                     Case No. 6:24-bk-02497-GER
RED LOBSTER OF BEL AIR, INC.,                                          Case No. 6:24-bk-02498-GER
RL SALISBURY, LLC,                                                     Case No. 6:24-bk-02499-GER
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                                Case No. 6:24-bk-02500-GER

      Debtors.                                                         (Joint Administration Pending)
__________________________________________/

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply
LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants LLC (4308); RL
Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland, Inc. (7185); Red
Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster Canada,
Inc. (4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located at 450 S.
Orange Avenue, Suite 800, Orlando, FL 32801.
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                               ORDER GRANTING DEBTORS’ EX PARTE
                               MOTION FOR JOINT ADMINISTRATION

           THIS CASE came before the Court, without a hearing, upon the Debtors’ Ex Parte Motion

for Joint Administration [ECF No. ___] (the “Motion”) filed by the above captioned debtors and

debtors-in-possession (each a “Debtor” and, collectively, the “Debtors”), pursuant to Bankruptcy

Rule 1015(b) and Local Rule 1015-1. The Motion requests entry of an order authorizing the joint

administration of the bankruptcy cases of the Debtors. The Court finds that (i) it has jurisdiction

over the matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent

with Article III of the United States Constitution; (iii) venue is proper before this Court pursuant

to 28 U.S.C. §§ 1408 and 1409; (iv) the relief requested in the Motion is in the best interests of the

Debtors, their estates, their creditors and other parties in interest; (v) pursuant to Local Rule 1015-

1, the Court is authorized to grant the Motion without a hearing at its discretion; (vi) notice of the

Motion was appropriate under the circumstances and no other notice need be provided; and (vii)

upon a review of the record before the Court, including the legal and factual bases set forth in the

Motion and the First Day Declaration2, good and sufficient cause exists for the granting of the

relief as set forth herein. Accordingly, it is

           ORDERED that:

           1.       The Motion is GRANTED.

           2.       The above-captioned bankruptcy cases are consolidated for procedural purposes

only and shall be jointly administered. The case of Red Lobster Management LLC, Case No. 6:24-

bk-02486-GER is designated as the “Lead Case.”




2
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
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         3.     The Clerk of the Court shall maintain a single case docket using the Lead Case

number.

         4.     Hearings in these jointly administered cases shall be joint hearings unless otherwise

specified.

         5.     Except as set forth below, all papers, including, without limitation, motions,

applications, notices, monthly operating reports, and orders shall be filed in the Lead Case and

shall bear the following jointly administered caption:

                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION
                                  www.flmb.uscourts.gov

IN RE:                                                        Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC,                                   Case No. 6:24-bk-02486-GER

                                                              Jointly Administered with
RED LOBSTER RESTAURANTS LLC,                                  Case No. 6:24-bk-02487-GER
RLSV, INC.,                                                   Case No. 6:24-bk-02488-GER
RED LOBSTER CANADA, INC.,                                     Case No. 6:24-bk-02489-GER
RED LOBSTER HOSPITALITY LLC,                                  Case No. 6:24-bk-02490-GER
RL KANSAS LLC,                                                Case No. 6:24-bk-02491-GER
RED LOBSTER SOURCING LLC,                                     Case No. 6:24-bk-02492-GER
RED LOBSTER SUPPLY LLC,                                       Case No. 6:24-bk-02493-GER
RL COLUMBIA LLC,                                              Case No. 6:24-bk-02494-GER
RL OF FREDERICK, INC.,                                        Case No. 6:24-bk-02495-GER
RED LOBSTER OF TEXAS, INC.,                                   Case No. 6:24-bk-02496-GER
RL MARYLAND, INC.,                                            Case No. 6:24-bk-02497-GER
RED LOBSTER OF BEL AIR, INC.,                                 Case No. 6:24-bk-02498-GER
RL SALISBURY, LLC,                                            Case No. 6:24-bk-02499-GER
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                       Case No. 6:24-bk-02500-GER

      Debtors.
_______________________________________/

         6.     A docket entry shall be made by the Clerk of Court in each of the above-captioned

cases substantially as follows:

           An order has been entered in this case directing joint administration of the
           following entities for procedural purposes only: (i) Red Lobster Management
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             LLC; (ii) Red Lobster Restaurants LLC; (iii) RLSV, Inc.; (iv) Red Lobster Canada,
             Inc; (v) Red Lobster Hospitality LLC; (vi) RL Kansas LLC; (vii) Red Lobster
             Sourcing LLC; (viii) Red Lobster Supply LLC; (vix) RL Columbia LLC; (x) RL
             of Frederick, Inc.; (xi) Red Lobster of Texas, Inc.; (xii) RL Maryland, Inc.; (xiii)
             Red Lobster of Bel Air, Inc.; (xiv) RL Salisbury, LLC; and (xv) Red Lobster
             International Holdings LLC. The docket of Red Lobster Management LLC (Case
             No. 6:24-bk-02486-GER) should be consulted for all matters affecting this case.

         7.        The following papers shall be filed in each jointly administered case, captioned

with the name and case number for that particular case:

                   a.      Lists of creditors pursuant to Rule 1007(d) of the Federal Rules of
                           Bankruptcy Procedure;

                   b.      Schedules and statements of financial affairs, and any amendments thereto;

                   c.      Claims (and any objections to claims and notices relating to transfers of
                           claims);

                   d.      Ballots (if separate plans are filed); and

                   e.      Motions for final decree.

         8.        Each of the jointly administered Debtors shall file separate monthly operating

reports to be docketed in the Lead Case.

         9.        Papers and orders that pertain to one or more specific Debtor(s) shall be filed in the

Lead Case, however, the caption of the paper or order shall designate the specific Debtor(s) to

which the paper or order applies.

         10.       The caption of the paper and or order shall be in the following form:

                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

IN RE:                                                            Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC,                                       Case No. 6:24-bk-02486-GER

                                                                  Jointly Administered with
RED LOBSTER RESTAURANTS LLC,                                      Case No. 6:24-bk-02487-GER
RLSV, INC.,                                                       Case No. 6:24-bk-02488-GER
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RED LOBSTER CANADA, INC.,                                      Case No. 6:24-bk-02489-GER
RED LOBSTER HOSPITALITY LLC,                                   Case No. 6:24-bk-02490-GER
RL KANSAS LLC,                                                 Case No. 6:24-bk-02491-GER
RED LOBSTER SOURCING LLC,                                      Case No. 6:24-bk-02492-GER
RED LOBSTER SUPPLY LLC,                                        Case No. 6:24-bk-02493-GER
RL COLUMBIA LLC,                                               Case No. 6:24-bk-02494-GER
RL OF FREDERICK, INC.,                                         Case No. 6:24-bk-02495-GER
RED LOBSTER OF TEXAS, INC.,                                    Case No. 6:24-bk-02496-GER
RL MARYLAND, INC.,                                             Case No. 6:24-bk-02497-GER
RED LOBSTER OF BEL AIR, INC.,                                  Case No. 6:24-bk-02498-GER
RL SALISBURY, LLC,                                             Case No. 6:24-bk-02499-GER
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                        Case No. 6:24-bk-02500-GER

      Debtors.
_______________________________________/

[Specific Debtor’s Name]                               [Specific Case Number]

_______________________________________/


         11.     Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this Order

shall be without prejudice to the rights of the Debtors to seek entry of an order substantively

consolidating their respective cases.

         12.     The Debtors shall not commingle assets or liabilities unless and until it is

determined, after notice and hearing, that these cases involve the same debtor or that another

ground exists to order substantive consolidation of these cases.

         13.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

         14.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation or interpretation of this Order.

                                              #    #   #




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(Attorney Paul Steven Singerman is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF and file a proof of service within three days of entry of the
order.)




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